Case 6:24-cv-00217-GAP-RMN Document 1 Filed 01/31/24 Page 1 of 11 PageID 1




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION


 KIMBERLY DANIELS,
                                                  Case No.:
                   Plaintiff,
                                                  COMPLAINT AND DEMAND FOR JURY
 v.                                               TRIAL

 REALPAGE, INC. d/b/a LEASINGDESK
 SCREENING,

                   Defendant.


                                         COMPLAINT

       Plaintiff Kimberly Daniels (“Plaintiff”) brings this action on an individual basis, seeking

statutory and other damages against Defendant RealPage, Inc. d/b/a LeasingDesk Screening

(“LEASINGDESK” or “Defendant”) and alleges, based upon Plaintiff’s personal knowledge, the

investigation of counsel, and upon information and belief, as follows:

                                PRELIMINARY STATEMENT

       1.      This is an action to recover damages for violations of the Fair Credit Reporting Act

(“FCRA”), 15 U.S.C. § 1681, et seq.

       2.      The FCRA is a federal statute designed to protect consumers from the harmful

effects of inaccurate information reported in consumer reports (commonly referred to as “credit

reports”). Thus, Congress enshrined the principles of “fair and accurate credit reporting” and the

“need to ensure that consumer reporting agencies exercise their grave responsibilities with

fairness” in the very first provision of the FCRA. See 15 U.S.C. § 1681a.
Case 6:24-cv-00217-GAP-RMN Document 1 Filed 01/31/24 Page 2 of 11 PageID 2




       3.      To that end, the FCRA imposes the following duty on consumer reporting agencies:

consumer reporting agencies must devise and implement reasonable procedures to ensure the

“maximum possible accuracy” of information contained in consumer reports.

       4.      The FCRA provides consumers with a private right of actions against consumer

reporting agencies that willfully or negligently fail to comply with their statutory obligations under

the FCRA.

       5.      Defendant LeasingDesk has produced and sold consumer reports concerning

Plaintiff’s background that wrongfully, inacurately and misleadingly reported Plaintiff’s criminal

history.

       6.      As a result of LeasingDesk’s wrongful reporting, Plaintiff was damaged by, without

limitation, loss of housing, suffering harm to her housing qualifications, wasted time, and

considerable stress and anguish.

                                             PARTIES

       7.      Plaintiff is a natural person and resident of the State of Florida and qualifies as a

“consumer” as defined and protected by the FCRA.

       8.      Defendant RealPage, Inc. d/b/a LeasingDesk Screening (“LEASINGDESK”) is a

“consumer reporting agency” as that term is defined under 15 U.S.C. § 1681a(f), as it “regularly

engages in whole or in part in the practice of assembling or evaluating credit information or other

information on consumers for the purpose of furnishing consumer reports to third parties” in

exchange for monetary compensation, by means of interstate commerce. Defendant

LEASINGDESK is a Delaware corporation that maintains its primary place of business at 2201

Lakeside Blvd, Richardson, Texas 75082.
    Case 6:24-cv-00217-GAP-RMN Document 1 Filed 01/31/24 Page 3 of 11 PageID 3




                                     JURISDICTION AND VENUE

         9.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and 15 U.S.C. § 1681p. Defendant regularly conducts business within the State of

Florida, and violated Plaintiff’s rights under the FCRA in the State of Florida as alleged more fully

below.

         10.     Venue is proper in this District under 28 U.S.C. 1391(b) because Plaintiff resides

in this District, Defendant conduct regular business in this District, and communications giving

rise to this action occurred in this District.

                                      FACTUAL ALLEGATIONS

         11.     Sometime before September 7, 2023, Plaintiff, who does not currently have secure

housing, applied for new housing at the Isles on Millenia (“Isles”) in Orlando, Florida. The

Heritage was notably enticing to Plaintiff because the units offered price of was very affordable

compared to many of the other options in Orlando. 1

         12.     In this application, Plaintiff agreed that a consumer background report regarding

herself could be procured from Defendant LeasingDesk.

         13.     To Plaintiff’s shock, she was informed that she was being denied her housing due

to the results of the consumer background report prepared by Defendant.

         14.     The report provided by Defendant had a “run date” of September 7, 2023. When

Plaintiff reviewed the criminal records section of the report procured from Defendant, she was

shocked to see that for Defendant was mislasingingly reporting case number 2017CF005835 out

of Palm Beach County, Florida in the following ways: 1) it listed charges of “False Verification of




1
 See Rent.com, Rental Market trends in Orlando, FL, available at https://www.rent.com/florida/orlando-
apartments/rent-trends (last accessed September 15, 2023) (“Avg. Rent 1 bed - $1,749”)
Case 6:24-cv-00217-GAP-RMN Document 1 Filed 01/31/24 Page 4 of 11 PageID 4




Ownership Second Hand Deal Under 300 Dols” and “Theft”; 2) it listed both charges as felonies;

3) it contained no disposition information; and 4) listed only the date of arrest as the “record date”.

       15.      This information is patently and misleadingly inaccurate because only two months

after being arrested, Plaintiff entered a plea deal and plead guilty to two lesser offenses for petit

theft, both misdemeanors rather than felonies. On August 18, 2017, the court entered an

adjudication of guilt on these lesser offences.

       16.      Defendant listed adjudications of guilt for “Offense Degree: FELONY”, “Case

Type: FELONY”, and “Type Classification: F”.

       17.      As made apparent by the court’s readily available public docket, Plaintiff has not

been convicted of felonies in this matter.

       18.      The CFPB recently issued guidance affirming that “consumer reporting agencies

must comply with their FCRA obligation to ‘follow reasonable procedures to assure maximum

possible accuracy’ under section 607(b). In particular, a consumer reporting agency that reports

public record information is not using reasonable procedures to assure maximum possible

accuracy if it does not have reasonable procedures in place to ensure that… it includes any existing

disposition information if it reports arrests, criminal charges, eviction proceedings, or other court

filings.” CFPB, Advisory Opinion on Fair Credit Reporting; Background Screening, 89 Fed. Reg.

4171 (Jan. 23, 2024) (FCRA Background Screening AO).

       19.      As a direct result of Defendant’s inaccurate and misleading reporting, Plaintiff has

been damaged.

       20.      Because of the inaccurate information provided to Plaintiff’s prospective landlord

by Defendant, Plaintiff’s was denied housing.
Case 6:24-cv-00217-GAP-RMN Document 1 Filed 01/31/24 Page 5 of 11 PageID 5




       21.     As a direct result, Plaintiff has suffered distress and mental anguish, largely due to

the frustration in losing this needed and affordable housing option and causing significant fear that

such inaccurate information will continue to preclude her from being to able to obtain a home, as

well as the defamatory harm of being portrayed as a felon when she has not been convicted of such

a crime.

       22.     It is patently inaccurate and/or materially misleading to report Plaintiff’s criminal

records: 1) without the accorded disposition information; 2) with previous inaccurate charges that

were reduced; and 3) as indicating felony offenses when Plaintiff’s judgment was for

misdemeanors.

       23.     Upon information and belief, had Defendant not erroneously, inaccurately and

misleadingly reported Plaintiff’s criminal history on her background report, Plaintiff would not

have been denied housing.

       24.     Upon information and belief, Defendant fails to maintain and employ reasonable

procedures to assure maximum possible accuracy of the consumer information it provides to

employers. In fact, the very failure to include readily available, public record disposition

information in Plaintiff’s report is evidence of its failure to maintain reasonable procedures.

       25.     Upon information and belief, Defendant knowingly and willfully maintains

deficient procedures because reporting to-the-day current information is more costly than reporting

outdated information on a consumer report.

       26.     For example, upon information and belief, Defendant allowed misleading and

inaccurate criminal records indicating the wrong offenses, the wrong offense class, and no

disposition to appear on Plaintiff’s consumer report, without first confirming the accuracy with the

appropriate public records, which are readily and publicly available.
Case 6:24-cv-00217-GAP-RMN Document 1 Filed 01/31/24 Page 6 of 11 PageID 6




       27.      Defendant regularly seeks out and procures criminal history information with the

intention of including it in the consumer reports it sells for profit.

       28.      Defendant knows or has reason to know the effect inaccurate criminal history has

on a consumer’s ability to gain housing.

       29.      Instead of employing reasonable procedures as required by the FCRA, Defendant

blindly collects information from unreliable third-party vendors to repackage and sell in its own

tenant screening products.

       30.      Alternatively, upon information and belief, Defendant buys consumer information

from third-party vendors that do not have reasonable procedures in place to ensure that the

information they sell is of maximum possible accuracy.

       31.      Defendant, a sophisticated tenant screening consumer reporting agency, is aware

that criminal history information is often inaccurate or incomplete.

       32.      Upon information and belief, Defendant purchased Plaintiff’s information from one

or more third-party vendors that merely compile driver data from various online sources without

verifying its accuracy with actual state records.

       33.      Upon information and belief, none of Defendant’s third-party vendors warrant the

accuracy of the information they sell.

       34.      Upon information and belief, Defendant does not exercise due diligence in ensuring

it is contracting with and/or utilizing reliable third-party vendors.

       35.      Upon information and belief, Defendant does not conduct periodic quality

assurance audits to ensure that it is receiving reliable consumer information from its third-party

vendors.
Case 6:24-cv-00217-GAP-RMN Document 1 Filed 01/31/24 Page 7 of 11 PageID 7




       36.     Defendant has been sued by consumers under the FCRA in the past for erroneously

reporting inaccurate criminal records.

       37.     Therefore, Defendant has notice that its procedures often result in the preparation

of inaccurate consumer reports and dissemination of inaccurate consumer information.

       38.     Upon information and belief, Defendant knew that the furnisher or third-party

vendor provides inaccurate consumer data with some regularity.

       39.     Upon information and belief, Defendant blindly relied on the information provided

by the furnisher or third-party vendor despite having reason to know it may be unreliable.

       40.     Upon information and belief, Defendant does not maintain reasonable procedures

to assure it reports consumer information with maximum possible accuracy because it would be

more expensive to independently verify the accuracy of the information it includes in its consumer

reports.

       41.     It is wholly unreasonable for Defendant to maintain procedures that it knows often

lead to inaccurate consumer reporting with grave consequences.

       42.     Despite knowing that its procedures are unreasonable, Defendant recklessly,

knowingly, and/or negligently fails to employ procedures that assure that maximum possible

accuracy of consumer information compiled and published in its consumer reports.

       43.     Upon information and belief, Defendant does not independently investigate the

information it procures from third-party vendors before including it in consumers’ background

reports.

       44.     Instead, Defendant has unreasonably decided that it is entitled to rely completely

on third-party vendors to ensure the information included in its consumer reports is accurate.
Case 6:24-cv-00217-GAP-RMN Document 1 Filed 01/31/24 Page 8 of 11 PageID 8




       45.     The injuries suffered by Plaintiff as a direct result of Defendant’s erroneous

reporting are the type of injuries that the FCRA was enacted to prevent.

       46.     Defendant knows that its services are used to make significant consumer decisions.

       47.     Upon information and belief, Defendant know or should have known that landlords

make decisions on tenant status based solely on the information contained in its consumer reports.

       48.     Upon information and belief, Defendant knew or should have known the negative

impact that reporting an inaccurate and/or misleading criminal history was likely to have on that

consumer’s tenant status.

       49.     Upon information and belief, Defendant purchases public record information from

third-party vendors.

       50.     Upon information and belief, those third-party vendors explicitly disclaim the

accuracy of the information they provide to Defendant.

       51.     Upon information and belief, Defendant reports and publishes the information

provided by the third-party vendors without verifying its accuracy.

       52.     Upon information and belief, Defendant knows or has reason to know that the third-

party vendors it procures consumers’ information from often provides inaccurate, misleading, and

incomplete records.

       53.     Upon information and belief, Defendant reports and publishes unverified public

records information without employing reasonable procedures to assure its accuracy because

employing such procedures would cut into its profits.

       54.     At common law, Defendant’s conduct would have given rise to causes of action

based on defamation and invasion of privacy.

       55.     As a direct result of Defendant’s conduct, Plaintiff was denied housing.
Case 6:24-cv-00217-GAP-RMN Document 1 Filed 01/31/24 Page 9 of 11 PageID 9




       56.     As a direct result of Defendant’s inaccurate and/or misleading reporting, Plaintiff

has suffered actual damages including, but not limited to: housing denial, wasted time, defamation

of her character, financial insecurity and emotional distress, including but not limited to,

humiliation, embarrassment, stress, frustration, and mental anguish causing headaches, abdominal

pain, loss of appetite and loss of weight.

       57.     Defendant’s violations of the FCRA were willful. Accordingly, Plaintiff is entitled

to statutory, actual, and punitive damages under 15 U.S.C. § 1681n.

       58.     Additionally, Defendant’s violations of the FCRA were negligent. Accordingly,

Plaintiff is entitled to statutory and actual damages under 15 U.S.C. § 1781o.

       59.     In any event, Defendant is liable for Plaintiff’s reasonable attorneys’ fees and costs,

pursuant to 15 U.S.C. §§ 1681n and 1681o.

                                      CAUSES OF ACTION

                                           COUNT I
                           Violation of the FCRA, 15 U.S.C. § 1681e

       60.     Plaintiff repeats and realleges the foregoing allegations as if fully set forth herein.

       61.     The FCRA imposes a duty on consumer reporting agencies to devise and implement

procedures to ensure the “maximum possible accuracy” of consumer reports, as follows:

               Whenever a consumer reporting agency prepares a consumer report, it
               shall follow reasonable procedures to assure maximum possible
               accuracy of the information concerning the individual about whom the
               report relates.

15 U.S.C. § 1581e(b) (emphasis added).

       62.     LeasingDesk violated § 1681e(b) because it failed to follow reasonable procedures

to ensure the maximum possible accuracy of the information it attributed to Plaintiff in its

consumer reports.
Case 6:24-cv-00217-GAP-RMN Document 1 Filed 01/31/24 Page 10 of 11 PageID 10




        63.     Specifically, LeasingDesk willfully, intentionally, recklessly, and/or negligently

violated § 1681e(b) by inaccurately and/or misleadingly reporting Plaintiff’s criminal history: 1)

without the accorded disposition information; 2) with previous inaccurate charges that were

reduced; and 3) as indicating felony offenses when Plaintiff’s judgment was for misdemeanors.

        64.     LeasingDesk’s misconduct was a direct and proximate cause of Plaintiff’s injuries,

as alleged herein.

        65.     LeasingDesk is therefore liable to Plaintiff for its willful and/or negligent failures

to follow reasonable policies and procedures.

        66.     As a result of LeasingDesk’s violations of 15 U.S.C. § 1681e(b), Plaintiff suffered

statutory and actual damages as described herein and is entitled to recover actual and punitive

damages under 15 U.S.C. §§ 1681n and 1681o.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff demands a judgment:

   i.   Awarding Plaintiff statutory money damages, actual damages and punitive damages

        pursuant to 15 U.S.C. §§ 1681n and/or 1681o, including pre-judgment and post-judgment

        interest;

  ii.   Awarding attorneys’ fees and costs as required by 15 U.S.C. §§ 1681n and/or 1681o, and

        other relief; and

 iii.   Awarding any other such relief as this Court may deem just and proper.



                                          JURY DEMAND

        Plaintiff is entitled to and hereby demands a trial by jury on all issues so triable.
Case 6:24-cv-00217-GAP-RMN Document 1 Filed 01/31/24 Page 11 of 11 PageID 11




  Dated: January 31, 2024            By:   /s/ Joseph Kanee

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